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                                              February 28, 2019



Mr. David J. Bradley
Clerk of the Court
United States District Court for the
Southern District of Texas – Galveston Division
601 Rosenberg Street, Room 411
Galveston, Texas 77550

       Re:  Civil Action No. 3:18-cv-00369; Mohammadali M. Shoja vs.
            Security Finance Corp of Spartanburg; In the United States
            District Court for the Southern District of Texas – Galveston Division
_____________________________________________________________________________

Dear Mr. Bradley:

       I write in accord with Part 4.B. of Judge Hanks’ procedures. Please note that I have filed
a 2019 vacation request in Houston, Harris County, Texas, designating my summer and non-
summer vacation schedule for the following weeks:

       June 24, 2019 through June 28, 2019;
       July 8, 2019 through July 12, 2019;
       December 16, 2019 through December 20, 2019; and
       December 30, 2019 through January 3, 2020.

         I have already made and paid for reservations for trips out of state covering dates in each
of these weeks. I would, therefore, request that no trial settings, hearings, or other deadlines be
set in this case during these weeks.

      By copy of this letter, I am notifying all counsel of record and the Case Manager of Judge
George C. Hanks, Jr. of this communication.

       Thank you for your courtesies and assistance in this matter.

                                              Sincerely,

                                              Kurt Arbuckle, P.C.



                                              Kurt Arbuckle
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KA:nmg

cc:    Ms. Susan Gram
       Case Manager of Judge George C. Hanks, Jr.
       Via: galveston_cm@txs.uscourts.gov

       Nathan C. Volheim
       Taxiarchis Hatzidimitriadis
       Via: nvolheim@sulaimanlaw.com
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